
By the Court.
— We think this deed sufficiently proved to have been given in evidence to the jury. The ancient practice in this respect has in modern times been relaxed, and we think with great reason; the rule which now obtains, is, that if the subscribing witness is dead, or resides out of the reach of the process of the court, his hand writing may be proved. In this case, one of the witnesses was dead, and the other resides in the state of New-York, at least 240 miles from the place of trial. The hand writing of both the subscribing witnesses, and also that of the grantor [*} are proved. We think, in this case, the deed should have been admitted in evidence; and that the judgment of the Common Pleas be Reversed.*

 Peake’s cases, 99. Bos. and Pul. 360. 1 Esp. cases, 2. 2 East, 250. See also Saund. Pl. and Ev. 425. S. P. 5 Halst. 273,

